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 PROB 12C                                                                                   Report Date: June 6, 2022
(6/16)

                                       United States District Court
                                                                                                              FILED IN THE
                                                       for the                                            U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT OF WASHINGTON


                                        Eastern District of Washington
                                                                                                     Jun 06, 2022
                                                                                                         SEAN F. MCAVOY, CLERK
                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joel Solorio Espino                       Case Number: 0980 1:17CR02040-LRS-1
 Address of Offender:                       Yakima, Washington 98908
 Name of Sentencing Judicial Officer: The Honorable Lonny R. Suko, Senior U.S. District Judge
 Date of Original Sentence: May 10, 2018
 Original Offense:        Possession of Firearms in Furtherance of a Drug Trafficking Crime, 18 U.S.C. §
                          924(c)(1)(A)
 Original Sentence:       Prison - 30 months                 Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Thomas J. Hanlon                   Date Supervision Commenced: September 26, 2019
 Defense Attorney:        Nick Mirr                          Date Supervision Expires: September 25, 2024


                                          PETITIONING THE COURT

To incorporate the violations contained in this petition in future proceedings with the violation previously reported
to the Court on 3/30/2022, 4/20/2022, 4/25/2022, and 5/18/2022.

On October 1, 2019, supervised release conditions were reviewed and signed by Mr. Espino acknowledging an
understanding of his conditions.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            7           Special Condition #3: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: Mr. Espino is alleged to have violated his conditions of supervised
                        release by consuming a controlled substance, fentanyl, between November 18, 2021, through
                        May 18, 2022.

                        On April 26, 2021, Mr. Espino verbally reviewed the substance abuse testing instructions,
                        acknowledging his understanding of the drug testing program. He was instructed to call the
                        colorline system for Merit Resource Services (Merit) and when his assigned color was
                        called, he was to report and submit to urinalysis (UA).
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                  On May 11, 2022, Mr. Espino reported to Merit for a substance abuse assessment and
                  submitted to a UA sample. According to the Merit counselor, the sample returned
                  presumptive positive for fentanyl and was sent to Cordant Health Solutions for confirmation.
                  On June 6, 2022, Merit confirmed the UA returned confirmed positive for fentanyl on May
                  14, 2022.

                  On May18, 2022, Mr. Espino reported to Merit and provided a UA sample. The specimen
                  was sent to Alere Toxicology Services, Incorporated (Alere) to be screened for the presence
                  of fentanyl. On this same date, during a telephonic conversation with Mr. Espino, the
                  offender expressed to this officer, that he has been using fentanyl daily for the past 6 months.

                  On May 25, 2022, Alere reported Mr. Espino’s UA sample was confirmed positive for
                  fentanyl.


          8       Special Condition #2: You must undergo a substance abuse evaluation and, if indicated by
                  a licensed/certified treatment provider, enter into and successfully complete an approved
                  substance abuse treatment program, which could include inpatient treatment and aftercare
                  upon further order of the court. You must contribute to the cost of treatment according to
                  your ability to pay. You must allow full reciprocal disclosure between the supervising officer
                  and treatment provider.

                  Supporting Evidence: Mr. Espino is alleged to have violated his conditions of supervised
                  release by failing to report to Merit on May 23, 2022, for his substance abuse evaluation
                  results appointment.

                  On May 12, 2022, Mr. Espino reported to Merit for a substance abuse evaluation. On that
                  same date, he was assessed and given a results appointment for May 23, 2022.

                  On May 18, 2022, during a telephonic conversation with Mr. Espino, this officer reminded
                  the offender of his scheduled assessment results appointment on May 23, 2022. Mr. Espino
                  verbalized an understanding and confirmed he would return to Merit to complete his
                  assessment on that date.

                  On May 23, 2022, Merit reported to this officer that Mr. Espino failed to report for his
                  assessment results appointment on this same date.
          9       Mandatory Condition #1: You must not commit another federal, state, or local crime.

                  Supporting Evidence: Mr. Espino is alleged to have violated his conditions of supervised
                  release by obstructing a law enforcement officer and providing false information to a public
                  servant on June 4, 2022, case number 22-009434.

                  According to the Washington State Patrol (WSP) narrative report for case number 22-
                  009434, the following occurred: On June 4, 2022, at approximately 11:29 a.m., a WSP
                  trooper observed a vehicle, later identified as the vehicle driven by Mr. Espino, on Interstate
                  82. The vehicle was quickly passing other vehicles and fast approaching the same direction
                  as the trooper. The trooper utilized his radar and observed the vehicle’s speed to be 90 miles
                  per hour in the posted 70 mile-per-hour zone.
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                       Due to the offender’s rate of speed, the trooper initiated a traffic stop. Inside the vehicle was
                       Mr. Espino, the driver, and a female passenger. The trooper asked Mr. Espino for his driver’s
                       license and vehicle documentation; the offender initially stated he did not have his driver’s
                       license on his person. According to the trooper, the offender appeared “nervous and fumbled
                       through his pockets and wallet” as he looked for the requested documentation. Mr. Espino
                       then handed the trooper the female passenger's identification card and stated he had recently
                       obtained a new driver’s license and was waiting to receive his new card in the mail.

                       Consequently, the trooper asked Mr. Espino to provide him with his name, date of birth,
                       height, and weight. The offender identified himself as Juvenal Espino. According to the
                       report, the trooper noted the offender appeared “untruthful” when answering his questions.
                       Mr. Espino paused and thought about each question before providing the trooper with the
                       requested personal identifiers. The trooper warned Mr. Espino that if the personal
                       information he provided him did not match his true name he would be arrested for
                       obstruction. Mr. Espino confirmed the information he provided was correct and indicated
                       a search would return with a picture of the offender. Using the personal information
                       provided by Mr. Espino, the trooper ran the offender’s information through the Washington
                       State Department of Licensing (DOL) and learned Mr. Espino did not provide him with his
                       true personal information. In order to properly identify the offender, the trooper placed Mr.
                       Espino in handcuffs and detained him.
                       Mr. Espino was adamant that he provided the trooper with his true information. However,
                       the offender was unable to provide accurate identifying information related to the false name
                       he provided the trooper. Therefore, the trooper read Mr. Espino his Constitutional Rights and
                       asked him for his name and date of birth once again. The offender admitted his license was
                       suspended and provided the trooper with his true name and date of birth. Mr. Espino
                       admitted he previously gave the trooper his brother’s name and personal information.
                       Mr. Espino was taken into custody for an active probation violation warrant. The offender
                       was booked into the Yakima County Jail and was cited for speeding. Charges for obstruction
                       of a law enforcement officer and providing false information to a public servant were also
                       referred.


The U.S. Probation Office respectfully recommends the Court to incorporate the violations contained in this petition
in future proceedings with the violations previously reported to the Court.


                                           I declare under penalty of perjury that the foregoing is true and correct.
                                                             Executed on:       June 6, 2022
                                                                                s/Araceli Mendoza
                                                                                Araceli Mendoza
                                                                                U.S. Probation Officer
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 THE COURT ORDERS

 [   ]     No Action
 [   ]     The Issuance of a Warrant
 [   ]     The Issuance of a Summons
 [   ]     The incorporation of the violation(s) contained in this
           petition with the other violations pending before the
           Court.
 [ ]       Defendant to appear before the Judge assigned to the
           case.
 [ ]       Defendant to appear before the Magistrate Judge.
 [ ]       Other

                                                                      Signature of Judicial Officer

                                                                      June 6, 2022
                                                                      Date
